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                        Exhibit C
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                                           United States v. Grant
                          United States District Court for the Southern District of New York
                              November 17, 2004, Decided ; November 18, 2004, Filed
                                                       04 Cr. 207 (BSJ)

Reporter
2004 U.S. Dist. LEXIS 28176 *; 35 Media L. Rep. 2495
                                                                § 856(a)(2).
United States of America v. Richard Grant, Ronald
Coffiel, Randell Rogiers, and Phoenix Sound, Inc.,              The Government seeks to obtain "outtakes" - raw
Defendants.                                                     footage that was not part of the finished program. The
                                                                Government does not know what it will see in these
Prior History: United States v. Grant, 2004 U.S. Dist.          outtakes; based [*2] on the few seconds of Sound
LEXIS 9462 (S.D.N.Y., May 25, 2004)                             Factory images that did appear on television, the
                                                                Government believes the outtakes will show "Club
Counsel: [*1] For Richard Grant, Defendant: Camille
                                                                patrons suffering from the effects of illegal narcotics."
Marie Abate, Abate & Preuss, New York, NY. Charles
                                                                (Gov. Mem. Opp'n at 5.)
Lavine, New York, NY. Nicholas H. Goodman, Quirk &
Bakalor, p.c., New York, NY.
                                                                MTV Networks, which is not a defendant in this case,
For MTV Networks, Movant: Naomi Brufsky Waltman,                has intervened to quash the subpoena on two grounds.
Viacom Law Department, New York, NY.                            First, MTV argues that the subpoena fails to meet the
                                                                standard set by Rule 17(c) of the Federal Rules of
For USA Plaintiff: David John Berardinelli, U.S.
                                                                Criminal Procedure. Second, MTV claims that
Attorney's Office, SDNY (St Andw's), New York, NY.
                                                                production cannot be compelled given the qualified
                                                                privilege enjoyed by journalists in the Second Circuit.
Judges: BARBARA S. JONES, UNITED STATES
DISTRICT JUDGE.
                                                                I. Rule 17(c)
Opinion by: BARBARA S. JONES
                                                                Rule 17(c) of the Federal Rules of Criminal Procedure
                                                                governs the issuance of subpoenas duces tecum. Rule
Opinion                                                         17 is not a discovery device; subpoenas are a tool to
                                                                produce evidence that the moving party expects will be
                                                                admissible at trial. FED. R. CRIM. P. 17(c)(1); Bowman
                                                                Dairy Co. v. United States, 341 U.S. 214, 220, 95 L. Ed.
Order                                                           879, 71 S. Ct. 675 (1951). A subpoena may be quashed
                                                                or modified "if compliance would be unreasonable or
                                                                oppressive." FED. R. CRIM. P. 17(c)(2).
BARBARA S. JONES
                                                                In order to require production prior to trial, the party
                                                                seeking the subpoena must clear three hurdles. United
UNITED STATES DISTRICT JUDGE                                    States v. Nixon, 418 U.S. 683, 700, 41 L. Ed. 2d 1039,
                                                                94 S. Ct. 3090 (1974). [*3] They are: (1) relevancy; (2)
This motion arises out of the Government's effort to            admissibility; and (3) specificity. Subpoenas that fail to
subpoena unedited footage from a television                     meet these hurdles may be quashed. United States v.
documentary series produced by MTV Networks                     Morris, 287 F.3d 985, 991 (10th Cir. 2002); United
("MTV"). The series, "True Life," featured an episode           States v. Loe, 248 F.3d 449, 466 (5th Cir. 2001); United
about nightclubs, which included video shot at the              States v. Hughes, 895 F.2d 1135, 1146 (6th Cir. 1990).
Sound Factory nightclub. That club, its owner, and two          While Rule 17(c) places the initial burden on the party
of its former employees are the subject of this criminal        moving to quash the subpoena, Nixon shifts the burden
prosecution. They are charged with making the club              to the party seeking production.
available for the sale and use of drugs under 21 U.S.C.
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ApplyingNixon's three-pronged test to the subpoena            sources - public information gathered by a journalist in
sought by the Government in the instant case, the Court       the course of covering a story - was resolved by this
finds that the materials sought are admissible and            circuit in Gonzales v. Nat'l Broadcasting Co., 194 F.3d
certainly described with enough specificity. The real         29 (2d Cir. 1998). There, the court reaffirmed the
question here is relevance.                                   existence of the qualified privilege for non-confidential
                                                              materials, but held: "where non-confidential information
Relevance means that the items sought would tend to           is at stake, the showing needed to overcome the
prove a material issue of the prosecution or defense.         journalists' privilege is less demanding than for material
The Government argues that because the footage that           acquired in confidence. Id. at 30. When a civil litigant
aired on MTV contains images of patrons who seem to           seeks non-confidential materials from a non-party
be under the influence of drugs, the outtakes must            newsgatherer, she can overcome an assertion of
contain more such images. (Gov't's Mem. Opp'n at 7.)          journalists' privilege if she can show that the materials at
This is relevant, the Government claims, because it           issue are "of likely relevance to [*6] a significant issue
makes it more probable that the defendants knew               in the case, and are not reasonably obtainable from
people in the club were using drugs. [*4] (Id. at 7-8.)       other available sources. Id. at 36.

MTV argues that because the Government's only claim           Applying the Gonzales standard to this case, in which
about the outtakes is that they include images of people      the prosecution seeks non-confidential information from
under the influence of drugs, they are not relevant.          a non-party newsgatherer, requires balancing the likely
(Reply Mem. at 3-5.) MTV concedes that video of               relevance of the material sought and its availability from
people selling or ingesting drugs at the Sound Factory        alternative sources against the public interest in a free
might be relevant, as would video of the individual           press. 194 F.3d at 35.
defendants in the presence of drug use or sale, but
emphasizes that the Government does not allege that           As explained above, the Court finds that the outtakes
the outtakes include such images.                             are of limited relevance to the prosecution's case.
                                                              Whether reasonably obtainable alternative sources are
The Court finds that while the outtakes are likely to be of   available to the party seeking the subpoena requires
minimal value to the prosecution, they are relevant.          further discussion.
Images of the club in action, including footage of people
alleged to be under the influence of drugs, could tend to     The parties dispute whether the video itself must be
convince the jury that facts consequential to the action      available elsewhere or whether alternative sources of
are more probable. See FED. R. EVID. 401.                     the information captured on it would suffice. The
                                                              Government stakes a particular need for the video itself,
Having found the subpoena valid under Rule 17, an             claiming that a (moving) picture is worth a thousand
examination of the application of the journalists' quasi-     words as evidence that patrons at the club were
privilege is now necessary.                                   intoxicated. (Gov. Mem. Opp'n at 17.)
II. Newsgatherers' privilege                                  While it is true that the Government cannot obtain
                                                              further video images of the club from any other source,
Any discussion of journalists' privilege under the First
                                                              they have considerable evidence of drug selling
Amendment begins with Branzburg v. Hayes, 408 U.S.
                                                              and [*7] drug use at the Sound Factory. Thanks to
665, 33 L. Ed. 2d 626, 92 S. Ct. 2646 (1972), in which
                                                              nearly four years of surveillance, the Government has
the Supreme Court declined to recognize an absolute
                                                              voluminous testimony regarding the atmosphere in the
privilege [*5] for the press. Thereafter many circuits,
                                                              club, including, presumably, the conduct of the patrons
including this one, sought to define the boundaries of a
                                                              and defendants. (Indictment, P31-34.) Indeed, they
qualified privilege for newsgatherers. This approach was
                                                              have the Sound Factory clips that aired on MTV,
tacitly sanctioned by Justice Powell's concurrence in
                                                              including the images of at least two patrons who, they
Branzburg, which suggested that a case-by-case
                                                              will argue, appear to be under the influence of drugs.
balancing test be performed to weigh the freedom of the
                                                              Despite this, the Government claims that its
press against a citizen's obligation to give testimony in a
                                                              particularized need for further video images is
criminal matter. 408 U.S. at 710.
                                                              analogous to the facts in Gonzales. The Court does not
                                                              agree.
The degree of privilege afforded to non-confidential


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In Gonzales, and in other cases in which the journalists'
privilege was overcome, the video contained images of         End of Document
the tortious conduct or crime itself. In Gonzales, the
video captured the conduct and demeanor of a
defendant police officer during a car stop - conduct
which the plaintiffs claimed showed one incident in a
pattern and practice of violating the civil rights of
Hispanic drivers who were stopped without probable
cause. 194 F.3d at 31; see also United States v. Cutler,
6 F.3d 67 (2d Cir. 1993) (affirming that journalists'
privilege was overcome where the video contained
outtakes [*8] from the very statements for which
Defendant was charged with contempt).

The video at issue here is nowhere near so material or
relevant. Given the availability of alternative sources of
information and the far more attenuated need for the
outtakes, the Court finds that the Government has not
overcome the journalists' privilege under the facts of this
case.

Moreover, although the Government has explained why
it was unable to obtain its own video, that does not
mean they are automatically entitled to MTV's footage.
To force MTV to provide the videotape would raise
precisely the concern for press freedom expressed in
Gonzales. There the Second Circuit emphasized that
even when non-confidential sources are at issue, there
is a "paramount public interest in the maintenance of a
vigorous, aggressive and independent press . . ."
Gonzales, 194 F.3d at 35. "Permitting litigants
unrestricted, court-enforced access to journalistic
resources would risk the symbolic harm of making
journalists appear to be an investigative arm of the
judicial system, the government, or private parties." Id.

Gonzales makes clear that requiring the press to
surrender materials gathered [*9] in the course of doing
its job is not to be done lightly. While the video outtakes
here are of some relevance to the Government, their
need for them is simply not great enough to outweigh
the public interest in a free press.

SO ORDERED:

Barbara S. Jones

United States District Judge

Dated: New York, New York

November 17, 2004




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